            Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 1 of 15



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

RITA TESSU, individually, and                       )
on behalf of all others similarly situated,         )
                                                    )
Address:                                            )
14 East Ship Road                                   )
Dundalk, Maryland 21222                             )
                                                    )
       Plaintiff,                                   )
                                                    )      Case No.:
v.                                                  )
                                                    )
ADAPTHEALTH, LLC d/b/a                              )
AMERICA’S HEALTHCARE AT HOME,                       )
                                                    )      JURY TRIAL DEMANDED
Serve registered agent at:                          )
United Corporate Services, Inc.                     )
874 Walker Road, Suite C                            )
Dover, Delaware 19904                               )
                                                    )
       Defendant.                                   )

                              CLASS ACTION COMPLAINT

       COMES NOW Plaintiff Rita Tessu, individually, and on behalf of all others

similarly situated, and for her Class Action Complaint against Defendant AdaptHealth,

LLC d/b/a America’s Healthcare at Home, states:

              BACKGROUND, PARTIES, JURISDICTION AND VENUE

       1.       Plaintiff Rita Tessu (“Tessu”) brings this case to protect the privacy rights of

herself and a class of similarly situated people who were sent text messages on their phones

by Defendant AdaptHealth, LLC d/b/a America’s Healthcare at Home (“AdaptHealth”).

AdaptHealth repeatedly sent text messages to Tessu and the putative class members after
             Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 2 of 15



Tessu and the putative class members expressly requested that AdaptHealth stop texting

them.

        2.       In the early 1990s, Congress enacted the Telephone Consumer Protection

Act (“TCPA”) to protect consumers’ privacy rights, namely, the right to be left alone from

unwanted telemarketing calls. A leading sponsor of the TCPA described unwanted

telemarketing calls as “the scourge of modern civilization.” 137 Cong. Rec. 30821 (1991).

        3.       The TCPA affords special protections for people who registered their who

request that they be placed on a company’s internal do not call list. Specifically, the TCPA

provides that each person who receives more than one call on their cell phone after

requesting to be placed on the company’s internal do not call list is entitled to recover a

penalty of $500 per call, and up to $1,500 per call if the TCPA is willfully or knowingly

violated.

        4.       The problem with receiving unwanted telemarketing calls is a problem that

most people in this country, like Tessu, frequently face. For example, in 2022 alone,

approximately 36.8 billion robocalls were placed in the United States. RobocallIndex.com,

YouMail Robocall Index, https://robocallindex.com/history/time (last visited January 18,

2023). The private right of enforcement of the TCPA is critical to stopping the proliferation

of these unwanted telemarketing calls. For example, while the Federal Communications

Commission levied over $200 million in penalties against telemarketers between 2015 and

2018, it collected less than $7,000 of that amount. See Sarah Krouse, The FCC Has Fined

Robocallers $208 Million. It’s Collected $6,790, THE WALL STREET JOURNAL, March 28,



                                              2
             Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 3 of 15



2019,            https://www.wsj.com/articles/the-fcc-has-fined-robocallers-208-million-its-

collected-6-790-11553770803.

        5.       Tessu is an individual who resides in, and is a citizen of, the State of

Maryland. Tessu has been a citizen of the State of Maryland at all times material to this

Complaint.

        6.       Tessu brings this action on behalf of herself and all others similarly situated.

        7.       AdaptHealth is a limited liability company organized under the laws of the

Delaware that has been in good standing to transact business at all times relevant to this

Complaint.

        8.       AdaptHealth describes itself as a “full-service home medical equipment and

respiratory company.”

        9.       AdaptHealth offers many medical products for sale, including, but not

limited to, respiratory therapy products.

        10.      AdaptHealth transacts business nationwide and has operations in 46 states,

including locations in the State of Maryland.

        11.      AdaptHealth markets its products and services, in part, through sending text

message advertisements to consumers’ cell phones and by placing prerecorded calls to

consumers’ cell phones.

        12.      Tessu is the owner of a cell phone. Her phone number is 609-XXX-2683.

        13.      Tessu’s phone is a residential line that is used primarily for personal

purposes, namely, to communicate with friends and family members and to communicate

about other personal matters.

                                                 3
          Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 4 of 15



       14.    Tessu’s cell phone account is held in her personal name.

       15.    On April 12, 2022, Tessu received a text message from AdaptHealth, stating,

“Reorder your America’s Healthcare at Home PAP supplies – https://sn7.us/d0gjahx.

       16.    On April 12, 2022, Tessu responded to AdaptHealth’s text message, stating,

“Stop.”

       17.    That same day, AdaptHealth responded to Tessu’s “stop” request by sending

Tessu a text message, stating, “You are unsubscribed from medical supply alerts. No more

text messages will be sent. Reply HELP for help.”

       18.    Despite promising to no longer send Tessu text messages, on April 19, 2022,

AdaptHealth sent Tessu another marketing text message, stating, “Reorder your America’s

Healthcare at Home PAP supplies – https://sn7.us/cghv2nv.”

       19.    On May 3, 2022, AdaptHealth sent Tessu a marketing text message, stating,

“Reorder your America’s Healthcare at Home PAP supplies – https://sn7.us/m276b9y.”

       20.    On May 10, 2022, AdaptHealth sent Tessu a marketing text message, stating,

“Reorder your America’s Healthcare at Home PAP supplies –https://sn7.us/m276b9y.”

       21.    On May 17, 2022, AdaptHealth sent Tessu a marketing text message, stating,

“Reorder your America’s Healthcare at Home PAP supplies –https://sn7.us/mck8wgxe.”

       22.    On May 17, 2022, Tessu again responded to AdaptHealth’s text messages,

by stating, “Stop.”

       23.    That same day, AdaptHealth responded to Tessu’s “stop” request by sending

Tessu a text message, stating, “You are unsubscribed from medical supply alerts. No more

text messages will be sent. Reply HELP for help.”

                                            4
           Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 5 of 15



       24.     Despite twice promising to no longer send Tessu text messages, on May 24,

2022, AdaptHealth sent Tessu another marketing text message, stating, “Reorder your

America’s Healthcare at Home PAP supplies – https://sn7.us/9kuzytg.”

       25.     On May 31, 2022, AdaptHealth sent Tessu a marketing text message, stating,

“Reorder your America’s Healthcare at Home PAP supplies – https://sn7.us/5qr9djp.”

       26.     On May 31, 2022, Tessu again responded to AdaptHealth’s text message by

stating, “stop.”

       27.     That same day, AdaptHealth responded to Tessu’s “stop” request by sending

Tessu a text message, stating, “You are unsubscribed from medical supply alerts. No more

text messages will be sent. Reply HELP for help.”

       28.     Despite promising to not send Tessu text messages on three prior occasions,

on June 7, 2022, Adapt Health sent Tessu another marketing text message, stating,

“Reorder your America’s Healthcare at Home PAP supplies – https://sn7.us/89rzins.”

       29.     Each of the links in the text messages described above link to AdaptHealth’s

website.

       30.     Tessu received each of these text messages on her phone while residing in

the State of Maryland.

       31.     After Tessu advised Adapt Health on multiple occasions that she no longer

wished to be contacted by Adapt Health, thereby revoking any consent to be contacted,

Adapt Health then began incessantly calling Tessu’s cell phone.

       32.     Beginning on May 9, 2022, and continuing through January 2023, Adapt

Health called Tessu’s cell phone and left her at least 26 prerecorded voicemail messages.

                                             5
         Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 6 of 15



Each of the voicemail messages state, “Hello. This is America’s Healthcare at Home an

Adapt Health company. We are calling regarding your resupplies. Please call us back at 1-

855-576-2065. Thank you. We look forward to speaking with you soon.”

       33.      Tessu received each of these calls on her phone while residing in the State of

Maryland.

       34.      Notably, prior to receiving text messages from AdaptHealth, Tessu had

previously advised AdaptHealth that she did not want them to communicate with her.

       35.      AdaptHealth’s conduct violated the privacy rights of Tessu and the putative

class members, as they were subjected to annoying and harassing text messages.

AdaptHealth’s texts intruded upon the rights of Tessu and the putative class members to

be free from invasion of their interest in seclusion.

       36.      AdaptHealth’s conduct caused Tessu and the putative class members to

waste time addressing and/or otherwise responding to the unwanted texts and calls.

       37.      On information and belief, AdaptHealth sent text messages and prerecorded

voice calls to Tessu and the putative class members for the purpose of selling its products

and services.




                                               6
         Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 7 of 15



                                     Class Allegations

       38.    Pursuant to Federal Rule of Civil Procedure 23(a), (b)(2) and (b)(3), Tessu

brings this lawsuit as a class action on behalf of herself and all others similarly situated.

This action satisfies the requirements of Rule 23.

       39.    Tessu seeks to represent the following classes:

       Internal DNC class: All persons in the United States who from four years
       prior to the filing of this action through class certification to whom: (1)
       AdaptHealth sent text messages marketing its products, (2) AdaptHealth sent
       more than one text message to the person in a twelve-month period, (3) after
       the person requested that AdaptHealth stop sending them text messages.

       Prerecorded voice class: All persons in the United States who from four
       years prior to the filing of this action through class certification to whom: (1)
       AdaptHealth placed a prerecorded voice message; (2) after said person
       requested that AdaptHealth stop calling them through a text message or
       conversation with an AdaptHealth representative.

       40.    Tessu reserves the right to add administrative subclasses, or to amend the

definition of the proposed class, during the lawsuit proceedings.

       41.    The members of the proposed classes are so numerous that joinder of all

members is impracticable. Tessu reasonably believes that hundreds or thousands of people

have been harmed by AdaptHealth’s actions. The phone numbers of the members of the

proposed class are readily identifiable through records available to AdaptHealth or those

acting on its behalf.

       42.    Most members of the proposed class have suffered damages in an amount

such that it would make filing separate lawsuits by individual members economically

infeasible.


                                              7
            Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 8 of 15



       43.      On information and belief, AdaptHealth has texted and continues to text

people who have requested that AdaptHealth stop calling them, i.e., to be placed on

AdaptHealth’s internal do not call list. It is reasonable to expect that AdaptHealth will

continue to send such text messages absent this lawsuit.

       44.      Common questions of law and fact exist as to all members of the proposed

class and predominate over any questions affecting only individual members. The

questions of law and fact common to the proposed class include, but are not limited to:

       a.       Whether AdaptHealth sent text messages to Tessu and the putative class

members after they requested that AdaptHealth no longer send them text messages;

       b.       Whether AdaptHealth placed prerecorded voice calls to Tessu and the

putative class members without the appropriate form of consent;

       c.       Whether AdaptHealth’s conduct violates 47 U.S.C. § 227(c);

       d.       Whether AdaptHealth’s conduct violates 47 U.S.C. § 227(b);

       e.       Whether AdaptHealth’s conduct violates the rules and regulations

implementing the TCPA; and,

       f.       Whether Tessu and the putative class members are entitled to increased

damages for each violation based on the willfulness of AdaptHealth’s conduct.

       45.      Tessu’s claims are typical of the claims of the proposed class members

because her claims arise from the same practice that gives rise to the claims of the members

of the proposed class and is based on the same legal theories.

       46.      Tessu and her counsel will fairly and adequately protect the interests of the

members of the proposed class. Tessu’s interests do not conflict with the interests of the

                                              8
         Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 9 of 15



proposed class she seeks to represent. Tessu has retained lawyers who are competent and

experienced in class action litigation, TCPA litigation and consumer law.

       47.    Tessu’s counsel will vigorously litigate this case as a class action, and Tessu

and her counsel are aware of their responsibilities to the putative members of the class and

will discharge those duties.

       48.    A class action is superior to all individual lawsuits for this controversy.

Joinder of all proposed members of the proposed class in one action is impracticable if not

impossible and prosecuting hundreds or thousands of individual actions is not feasible. The

size of the individual claims is likely not large enough to justify filing a separate action for

each claim. For many, if not most, members of the proposed class, a class action is the only

procedural mechanism that will allow recovery. Even if members of the proposed class had

the resources to pursue individual litigation, that method would be unduly burdensome to

the courts. Individual litigation could also result in inconsistent adjudications.

       49.    In contrast, a class action is superior in that it will benefit the court and

litigating parties through efficiency, economy of scale and unitary adjudication resulting

from supervision of the litigation by a single court.

       50.    Questions of law and fact, particularly the propriety of sending text messages

to persons who requested that AdaptHealth no longer text them, i.e., to place them on

AdaptHealth’s internal do not call list, predominate over questions affecting only

individual members.




                                               9
        Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 10 of 15



       51.     AdaptHealth has acted or refused to act on grounds that apply generally to

the class, making final injunctive relief or corresponding declaratory relief is appropriate

with respect to the class as a whole.

     Count I - Violations of the Telephone Consumer Protection Act ("TCPA"),
                               47 U.S.C. § 227(c) et seq.

       52.     Tessu incorporates by reference the allegations of the previous paragraphs as

if fully stated in this Count.

       53.     The TCPA provides that “a person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the

regulations prescribed under this subsection” may recover $500 for each violation, and up

to $1,500 for each violation, if the violation is determined to be willful. See 47 U.S.C. §

227(c)(5).

       54.     The regulations prescribed under Section 227(c) require companies like

AdaptHealth, who engage in telemarketing to institute “procedures for maintaining a list

of persons who request not to receive telemarketing calls on or behalf of that person or

entity.” See 47 C.F.R. § 64.1200(d).

       55.     These procedures must meet several minimum standards, including, but not

limited to:

       (1) Written policy. Persons or entities making calls for telemarketing
           purposes must have a written policy, available upon demand, for
           maintaining a do-not-call list.

       (2) Training of personnel engaged in telemarketing. Personnel engaged in
           any aspect of telemarketing must be informed and trained in the existence
           and use of the do-not-call list.


                                             10
        Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 11 of 15




      (3) Recording, disclosure of do-not-call requests. If a person or entity
          making a call for telemarketing purposes (or on whose behalf such a call
          is made) receives a request from a residential telephone subscriber not to
          receive calls from that person or entity, the person or entity must record
          the request and place the subscriber's name, if provided, and telephone
          number on the do-not-call list at the time the request is made. Persons or
          entities making calls for telemarketing purposes (or on whose behalf such
          calls are made) must honor a residential subscriber's do-not-call request
          within a reasonable time from the date such request is made. This period
          may not exceed thirty days from the date of such request. If such requests
          are recorded or maintained by a party other than the person or entity on
          whose behalf the telemarketing call is made, the person or entity on
          whose behalf the telemarketing call is made will be liable for any failures
          to honor the do-not-call request. A person or entity making a call for
          telemarketing purposes must obtain a consumer's prior express
          permission to share or forward the consumer's request not to be called to
          a party other than the person or entity on whose behalf a telemarketing
          call is made or an affiliated entity.

      (4) Identification of sellers and telemarketers. A person or entity making a
      call for telemarketing purposes must provide the called party with the name
      of the individual caller, the name of the person or entity on whose behalf the
      call is being made, and a telephone number or address at which the person or
      entity may be contacted. The telephone number provided may not be a 900
      number or any other number for which charges exceed local or long distance
      transmission charges.
      (5) Affiliated persons or entities. In the absence of a specific request by
      the subscriber to the contrary, a residential subscriber's do-not-call request
      shall apply to the particular business entity making the call (or on whose
      behalf a call is made), and will not apply to affiliated entities unless
      the consumer reasonably would expect them to be included given the
      identification of the caller and the product being advertised.
      (6) Maintenance of do-not-call lists. A person or entity making calls for
      telemarketing purposes must maintain a record of a consumer's request not
      to receive further telemarketing calls. A do-not-call request must be honored
      for 5 years from the time the request is made.
See 47 C.F.R. § 64.1200(d)(1)-(6).
      56.    AdaptHealth failed to maintain and/or implement these minimum standards

by repeatedly sending text messages to Tessu and the putative class members after Tessu

                                            11
        Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 12 of 15



and the putative class members requested that AdaptHealth stop sending them text

messages.

       57.     In addition, the TCPA allows the Court to enjoin AdaptHealth’s violations

of the TCPA’s regulations prohibiting calls to phone numbers that should have been placed

on AdaptHealth’s internal do not call list. See 47 U.S.C. §§ 227(c)(5)(A).

       58.     By sending text messages to the phones of Tessu and the putative class

members after their numbers should have been placed on AdaptHealth’s internal do not

call list, AdaptHealth violated the TCPA, including, but not limited to, 47 U.S.C. § 227(c)

and the TCPA’s corresponding regulations.

       59.     AdaptHealth knew or should have known that Tessu and the putative class

members did not wish to receive text messages as such persons expressly advised

AdaptHealth that they did not wish to receive text messages from AdaptHealth.

       60.     Tessu and the putative class members are entitled to damages of $500.00 per

violation for each text message sent by AdaptHealth in violation of the TCPA and up to

$1,500.00 per violation if the Court finds that AdaptHealth willfully violated the TCPA.

    Count II - Violations of the Telephone Consumer Protection Act ("TCPA"),
                               47 U.S.C. § 227(b) et seq.

       61.     Tessu incorporates by reference the allegations of the previous paragraphs as

if fully stated in this Count.

       62.     The TCPA states, in part:

        It shall be unlawful . . . (A) to make any call (other than a call made for
        emergency purposes or made with the prior express consent of the called
        party) using [a] prerecorded voice . . . (iii) to any telephone number assigned
        to a . . . cellular telephone . . . .
                                             12
        Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 13 of 15




47 U.S.C. § 227(b)(1).

       63.    The Federal Communications Commission's regulations implementing the

TCPA provide that telephone solicitations cannot be made to a recipient without the

recipient's “prior express written consent.” See FCC 12-21, CG Docket 02-278 (effective

October 16, 2013); 47 C.F.R. § 64.1200(a)(2)

       64.    The term “prior express written consent” means “an agreement, in writing,

bearing the signature of the person called that clearly authorizes the seller to deliver or

cause to be delivered to the person called advertisements or telemarketing messages using

an automatic telephone dialing system or an artificial or prerecorded voice, and the

telephone number to which the signatory authorizes such advertisements or telemarketing

messages to be delivered.” 47 C.F.R. § 64.1200(f)(8)(i).

       65.    To the extent AdaptHealth ever had “prior express written consent” to

contact Tessu, such consent was revoked orally by Tessu when she advised AdaptHealth

to stop calling her.

       66.     To the extent AdaptHealth ever had “prior express written consent” to

contact Tessu, such consent was also revoked in writing by Tessu when she advised

AdaptHealth via text message to stop communicating her.

       67.    The TCPA provides for a private right of action and statutory damages of

least $500, and up to $1,500.00 per violation for each violation of Section 227(b). 47

U.S.C. § 227(b)(3).




                                            13
        Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 14 of 15



       68.    AdaptHealth violated Section 227(b) of the TCPA by placing prerecorded

voice calls to Tessu and the putative class members despite not having “prior express

consent” to place such calls.

       69.    AdaptHealth knew or should have known that Tessu and the putative class

members did not provide their prior express written consent to receive such prerecorded

voice calls from AdaptHealth.


                                      Demand for Judgment

       WHEREFORE Plaintiff Rita Tessu, individually, and on behalf of all others

similarly situated, requests the Court grant the following relief:

       a.     Enter an order against Defendant AdaptHealth, LLC pursuant to Federal Rule

of Civil Procedure 23(a), (b)(2) and (b)(3), certifying this action as a class action and

appointing Tessu as the class representative;

       b.     Enter an order appointing Santoni, Vocci & Ortega, LLC and Butsch Roberts

& Associates LLC as counsel for the class;

       c.     Enter judgment in favor of Tessu and the putative class for all damages

available under the TCPA, including statutory damages of up to $500 per violation of the

Section 227(c) TCPA, or up to $1,500 per violation of the TCPA if AdaptHealth willfully

violated Section 227(c) of the TCPA;

       d.     Enter judgment in favor of Tessu and the putative class for all damages

available under the TCPA, including statutory damages of $500 per violation of the Section

227(b) TCPA, or up to $1,500 per violation of the TCPA if AdaptHealth willfully violated


                                             14
        Case 1:23-cv-00364-SAG Document 1 Filed 02/09/23 Page 15 of 15



Section 227(b) of the TCPA;

      e.     Enter judgment in favor of Tessu and the putative class that enjoins

AdaptHealth from violating the TCPA’s regulations prohibiting AdaptHealth from sending

text messages to persons who have requested that AdaptHealth stop texting them;

      f.     Award Tessu and the class all expenses of this action, and require that

AdaptHealth pay the costs and expenses of class notice and administration; and,

      g.     Award Tessu and the class such further and other relief the Court deems just

and appropriate.

                            DEMAND FOR JURY TRIAL

      Please take notice that Plaintiff Rita Tessu demands a jury trial in this case.

                                          By: /s/ Chelsea Ortega
                                          Chelsea Ortega #19327
                                          Santoni, Vocci, & Ortega LLC
                                          201 W. Padonia Road, Suite 101
                                          Lutherville-Timonium, Maryland 21093
                                          Phone: (443) 921-8161
                                          Fax: (410) 525-5704

                                          BUTSCH ROBERTS & ASSOCIATES LLC

                                          Christopher E. Roberts (pro hac forthcoming)
                                          231 S. Bemiston Avenue, Suite 260
                                          Clayton, Missouri 63105
                                          Phone: (314) 863-5700
                                          Fax: (314) 863-5711
                                          CRoberts@butschroberts.com




                                            15
